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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        CENTRAL DIVISION AT LEXINGTON

UNITED STATES OF AMERICA,                   )
                                            )
        Plaintiff,                          ) Criminal Action No. 5:07-137-JMH
                                            )
v.                                          )
                                            )
CAROLYN SPICER,                             ) MEMORANDUM OPINION AND ORDER
                                            )
        Defendant                           )

                         **      **         **     **      **


        This   matter    is    before       the    Court       on   the    Report     and

Recommendation of Magistrate Judge James B. Todd [Record No. 359].

Said action was referred to the magistrate for the purpose of

reviewing the merit of Petitioner’s Motion to Vacate pursuant to 28

U.S.C. § 2255 [Record No. 321].              The time for filing objections to

the Report and Recommendation has passed and none have been filed.

        Although it is clear that “a judge of the court shall make a

de novo determination of those portions of the report or specified

proposed findings or recommendations made by the magistrate judge,”

28 U.S.C. § 636, when, as in the case sub judice, there are no

objections to the Report and Recommendation, “[i]t does not appear

that Congress intended to require district court review of a

magistrate’s factual or legal conclusions, under a de novo or any

other    standard.”       Thomas      v.    Arn,   474    U.S.      140,   150   (1985).

Consequently, this Court adopts the reasoning set forth in the

Report and Recommendation as its own.                    Defendant’s sentence was

within the applicable maximum statutory penalty range, and, by
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virtue of her Plea Agreement she knowingly and voluntarily waived

the right to collaterally attack her guilty plea and conviction in

the present § 2255 motion.

     Accordingly, IT IS ORDERED:

     (1)   that the Report and Recommendation of the Magistrate

Judge [Record No. 359] be, and the same hereby is, ACCEPTED; and

     (2)   that Petitioner’s Motion to Vacate [Record No. 321] be,

and the same hereby is DENIED.

     This the 13th day of May, 2010.
